    Case 3:23-cr-00026-MEM Document 459 Filed 05/08/24 Page 1 of 32




                 UMTED STATES DISTRICT COURT
               MIDDLE DISTRICT OF PENNSYLVANIA

IINITED STATES OF AMERICA              No.3:23-CR-26

           v                           (Judge MANMON)

HOWARDBELL,                            (electronically filed)
a./k/a "MTIY
                   Defendant

                         PLEAAGREEMEI{T

     The following Plea Agreement is entered by the United States

Attorney for the Middle District of Pennsylvania and the above-

captioned defendant. Any reference to the United States or to the

Government in this Agreement shall mean the Office of the United

States Attorney for the Middle District of Pennsylvania.

A. Violation(g). Penalties. and Disnissal of Other Counts

    1. Guiltv plea. The defendant a grees to plead guilty to Count 1 of
       the Indictment, which charges the defendant with a violation of

       Title 21, United States Code, gg 8a6(a), 841(d(1) and

       841(b)(1X0, Conspiracy to Distribute more than 400 Grams of

       Fentanyl, a Schedule II Controlled Substance. The maximum

       penalty for that offense is imprisonment for a period of life but a

       mandatory minimum term of 10 years in prison, a fine of
Case 3:23-cr-00026-MEM Document 459 Filed 05/08/24 Page 2 of 32




    $10,000,000, a maximum term of supervised release of life but a

    minimum of at least 5 years, which shall be served at the

    conclusion of, and in addition to, any term of imprisonment, as

    well as the costs of prosecution, imprisonment, probation, or

    supervised release ordered, denial of certain federal benefits,

    and an assessment in the amount of $100. At the time the

   guilty plea is entered, the defendant shall admit to the Court

   that the defendant is, in fact, guilty of the offense(s) charged in

   that count. After sentencing, the United States will move for

   dismissal of any remaining counts of the Indictment. The

   defendant agrees, however, that the United States may, at its

   sole election, reinstate any dismissed charges, or seek additional

   charges, in the event that any guilty plea entered or sentence

   imposed pursuant to this Agreement is subsequently vacated,

   set aside, or invalidated by any court. The defendant further

   agrees to waive any defenses to reinstatement ofany charges, or

   to the filing of additional charges, based upon laches, the

   assertion of speedy trial rights, any applicable statute of
                                2
Case 3:23-cr-00026-MEM Document 459 Filed 05/08/24 Page 3 of 32




   Iimitations, or any other ground. The calculation of time under

   the Speedy Trial Act for when trial must commence is tolled as

   of the date of the defendant's signing of this Agreement, until

   either (a) the defendant pleads guiltyi or (b) a new date is set by

   the Court fbr cornmencement of trial.

2. Mandatorv Minimun Sentence. Count 1 carries a mandatory
   rninimrrrn period of imprisonment of 10 years.

3. Term of Supervised Release. The defendant understands that
   the Court must impose at least a 5-year term of supervised

   release but up to a lifetime of supervised release in addition to

   any term of imprisonment, fine or assessment involving this

   violation ofthe Controlled Substances Act. The defendant also

   understands that the Court may impose a term of supervised

   release following any sentence of imprisonment exceeding one

   year, or when required by statute. The Court may require a

   term of supervised release in any other case. In addition, the

   defendant understands that as a condition of any term of

   supervised release or probation, the Court must order that the
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Case 3:23-cr-00026-MEM Document 459 Filed 05/08/24 Page 4 of 32




    defendant cooperate in the collection of a DNA sample if the

    collection of a sample is so authorized by law.

4. Maxirnum Sentence. The defendant understands that the total,
    maximum possible sentence for all charges is the combination of

   penalties ilescribed abovei that is, up to life in prison but a

    mandatory minimum term of 10 years in prison, fines totaling

    $i0,000,000, a maximum term of supervised release of up to life,

   but at least 5 years, the costs of prosecution, denial of certain

   federal benefits and an assessment totaling $100.

5. No Further Prosecution, Except Tax Charses. The United
   States Attorney's Office for the Middle District of Pennsylvania

   agrees that it will not bring any other criminal charges against

   the defendant directly arising out ofthe defendant's

   involvement in the offense(s) described above. However,

   nothing in this Agreement will limit prosecution for criminal tax

   charges, if any, arising out of those offenses.




                                4
   Case 3:23-cr-00026-MEM Document 459 Filed 05/08/24 Page 5 of 32




B. Fines and Aseessments
   6. File. The defendant understands that the Court may impose a
       fine pursuant to the Sentencing Reform Act of 1984. The willful

       failure to pay any fine imposed by the Court, in full, may be

       considered a breach of this Plea Agreement. Further, the

       defendant acknowledges that willful failure to pay the fine may

       subject the defendant to additional criminal violations and civil

       penalties pursuant to Title 18, United States Code, $ 3611, et

       seq.

   7   Inmate Financial Resoonsibilitv Prosram . If the Court orders a

       fine or restitution as part of the defendant's sentence, and the

       sentence includes a term of imprisonment, the defendant agrees

       to voluntarily enter the United States Bureau of Prisons-

       administered program known as the Inmate Financial

       Responsibility Program, through which the Bureau of Prisons

       will collect up to 50% ofthe defendant's prison salary, and up to

       50% ofthe balance ofthe defendant's inmate account, ancl apply



                                   5
Case 3:23-cr-00026-MEM Document 459 Filed 05/08/24 Page 6 of 32




    that amount on the defendant's behalf to the payment of the

    outstanding fine and restitution orders.

8. Special Assessment. The defendant understands that the Court
    will impose a special assessment of $100, pursuant to the

    provisions of Title 18, United States Code, $ 3013. No later

    than the date of sentencing, the defendant or defendant's

    counsel shall mail a check in payrnent ofthe special assessment

    directly to the Clerk, United States District Court, Middle

    District of Pennsylvania. If the defendant intentionally fails to

    make this payment, that failure may be treated as a breach of

    this PIea Agreement and may result in further prosecution, the

    filing of additional criminal charges, or a contempt citation.

9. Collection of Financial Oblieations. In order to faciiitate the
    collection of financial obligations imposed in connection with

    this case, the defendant consents and agrees:

    a   to fully disclose all assets in which the defendant has an

        interest or over which the defendant has control, directly or


                                6
Case 3:23-cr-00026-MEM Document 459 Filed 05/08/24 Page 7 of 32




       indirectly, including those held by a spouse, nominee, or

       other third partyi

   b. to submit to interviews by the Government regarding the
       defendant's financial statusi

   c. to submit a complete, accurate, and truthful financial
       statement, on the form provided by the Government, to the

       United States Attorney's Office no later than 14 days

       following entry of the guilty pleai

   d. whether represented by counsel or not, to consent to contact
       by and communication with the Government, and to waive

       any prohibition against communication with a represented

       party by the Government regarding the defenilant's

       financial statusi

   e. to authorize the Government to obtain the defendant's
       credit reports in order to evaluate the defendant's ability to

       satisfr any financial obligations imposed by the Courti and

   f. to submit any financial information requested by the
       Probation Office as directed, and to the sharing offinancial
                                7
   Case 3:23-cr-00026-MEM Document 459 Filed 05/08/24 Page 8 of 32




           information between the Government and the Probation

           Office.

C. Sentencine Guidelines Calculation
   10. Determination of Sentencine Guidelines. The defendant and

       counsel for both parties agree that the United States Sentencing

       Commission Guidelines, which took effect on November 1, 1987,

       and its amendments (the "sentencing Guidelines"), will apply to

       the offense or offenses to which the defendant is pleading guilty.

       The defendant understands that the Sentencing Guidelines are

       advisory and not binding on the Court. The defendant further

       agrees that any legal and factual issues relating to the

       application ofthe Sentencing Guidelines to the defendant's

       conduct, including facts to support any specific offense

       characteristic or other enhancement or adjustment and the

       appropriate sentence within the statutory maximums provided

      for by law, will be determined by the Court after briefing, a pre-

       sentence hearing, or a sentencing hearing.



                                   8
Case 3:23-cr-00026-MEM Document 459 Filed 05/08/24 Page 9 of 32




11. Accentance ofResDo nsibilitv- Two/Three Levels. If the

   def'endant can adequately demonstrate recognition and

   affirmative acceptance of responsibility to the Government as

   required by the Sentencing Guidelines, the Government will

   recommend that the defendant receive a two- or three'level

   reduction in the clefendant's offense level for acceptance of

   responsibility. The third level, if applicable, shall be within the

   discretion of the Government under U.S.S.G. $ 3E1.1. The

   failure of the Court to find that the defendant is entitled to a

   reduction shall not be a basis to void this Agreement.

12. Specific Sentencins Guidelines Recommendations. With respect

   to the application ofthe Sentencing Guidelines to the

   defendant's conduct, the parties agree to recommend as follows:

      a. For purposes of the U.S.S.G., the parties agree
         that the defendant is reeponsible for the
         dietribution of, and possession with intent to
         distribute, at leaet 400 grams but lees than 1.2
         kilograms offentanyl a Schedule II controlled
         eubetance.




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Case 3:23-cr-00026-MEM Document 459 Filed 05/08/24 Page 10 of 32




    Each party reserves the right to make whatever remaining

    arguments it deems appropriate with regard to application of

    the United States Sentencing Commission Guidelines to the

    defendant's conduct. 'Ihe defendant understands that any

    recommendations are not binding upon either the Court or the

    United States Probation Office, which may make different

    findings as to the application ofthe Sentencing Guidelines to

    the defendant's conduct. The defendant further understands

    that the United States will provide the Court and the United

    States Probation Office all information in its possession that it

    deems relevant to the application of the Sentencing Guidelines

    to the defendant's conduct.

13. Apnropriate Sente nce Recommendation. At the time of

    sentencing, the United States may make a recommendation

    that it considers appropriate based upon the nature and

    circumstances of the case and the defendant's participation in

    the offense, and specifically reserves the right to recommend a

    sentence up to and including the maximum sentence of
                                  10
Case 3:23-cr-00026-MEM Document 459 Filed 05/08/24 Page 11 of 32




     imprisonment and fine allowable, together with the cost of

     prosecution.

 14. S e         tl                                          If
     probation or a term of supervised release is ordered, the United

     States may recommend that the Court impose one or more

     special conditions, including but not limited to the following:

     a     The defendant be prohibited from possessing a firearm or

           other dangerous weapon.

     b. The defendant make restitution, if applicable, the payment
           of which shall be in accordance with a schedule to be

           determined by the Court.

     c     The defendant pay any fine imposed in accordance with a

           schedule to be determined by the Court.

     d. The defendant be prohibited from incurring new credit
           charges or opening additional lines of credit without

           approval ofthe Probation Office unless the defendant is in

           compliance with the payment schedule.



                                  11
Case 3:23-cr-00026-MEM Document 459 Filed 05/08/24 Page 12 of 32




    e    The defendant be directed to provide the Probation Office

         and the United States Attorney access to any requested

         financial information.

    f. The defendant be confined in a community treatment
         center, halfway house, or similar facility.

    g. The defendant be placed under home confinement.
    h. The defendant be ordered to perform community service.
    I    The defendant be restricted from working in certain types of

         occupations or with certain individuals if the Government

         deems such restrictions to be appropriate.

    j.   The defendant be directed to attend substance abuse

         counseling, which may include testing to determine whether

         the defendant is using drugs or alcohol.

    k. The defendant be directed to attend psychiatric or
         psychological counseling and treatment in a program

         approved by the Probation Officer.

    l. The defendant be denied certain federal benefits including
         contracts, grants, loans, fellowships, and licenses.
                                  t2
Case 3:23-cr-00026-MEM Document 459 Filed 05/08/24 Page 13 of 32




    m. The defendant be directed to pay any state or federal taxes
        and file any and all state and federal tax returns as

        required by law.

15. Destruction Order/Waivers. The defendant further agrees,

    should the United States deem it appropriate to the destruction

    ofthe items seized during the course of the investigation. The

    defendant agrees that the items may be destroyed by the

    investigative agency with or without a court order authorizing

    the destruction of the items seized. If the United States

    determines that a destruction order should be obtained, the

    defendant and defendant's counsel hereby concur in a motion for

    such an order. The ilefendant further agrees to waive all

    interest in the assets in any administrative or judicial forfeiture

    proceeding, whether criminal or civil, state, or federal. The

    defendant consents and waives all rights to compliance by the

    United States with any applicable deadlines under 18 U.S.C. $

    98S(d. Any related administrative claim filed by the defendant

    is hereby withdrawn. The defendant agrees to consent to the
                                13
  Case 3:23-cr-00026-MEM Document 459 Filed 05/08/24 Page 14 of 32




       entry of orders of forfeiture for such property and waives the

       requirements of Federal Rules of Criminal Procedure 32.2 and.

       43(d regarding notice ofthe forfeiture in the charging

       instrument, announcement of the forfeiture at sentencing, and

       incorporation of forfeiture in the judgment.

D. Victims'Bights and Restitution
   16. Victims'Riehts. The defendant understands that pursuant to

       the Victim and Witness Protection Act, the Crime Victims'

       Rights Act, the Justice for A11 Act, and the regulations

       promulgated under those Acts by the Attorney General ofthe

       United States, crime victims have the following rights:

       a   The right to be reasonably protected from the accusedi

       b. The right to reasonable, accurate, and timely notice ofany
           public court proceeding or any parole proceeding involving

           the crime, or of any release or escape of the accusedi

       C   The right not to be excluded from any such public court

           proceeding, unless the Court, after receiving clear and

           convincing evidence, determines that testimony by the
                                   L4
Case 3:23-cr-00026-MEM Document 459 Filed 05/08/24 Page 15 of 32




        victim would be altered materially if the victim heard other

        testimony at that proceedingi

    d. The right to be reasonably heard at any public hearing in
        the Court involving release, plea, sentencing, or any parole

        proceeding. The def'endant understands that the victims'

        comments and recommendations at any of these proceedings

        may be different than those of the parties to this

        Agreementi

    e   The reasonable right to confer with the attorney for the

        Government in the case. The defendant understands that

        the victims' opinions and recommendations given to the

        attorney for the Government may be different than those

        presented by the United States as a consequence ofthis

        Agreementi

    f. The right to fuIl and timely restitution as provided for by
        Iaw. The attorney for the Government is required to "fully

        advocate the rights of victims on the issue of restitution

        unless such advocacy would unduly prolong or complicate
                                15
Case 3:23-cr-00026-MEM Document 459 Filed 05/08/24 Page 16 of 32




         the sentencing proceeding," and the Court is authorized to

         order restitution by the defendant including, but not limited

         to, restitution for property loss, economic loss, personal

         injury, or deathi

     g. The right to proceedings free from unreasonable delayi and
     h. The right to be treated with fairness and with respect for
         the victim's dignity and privacy.

 17. Restitution. The defendant acknowledges that, pursuant to the

     Mandatory Restitution Act of April 24, 1996, Title 18, United

     States Code, $ 36634, the Court is required irr all instances to

     order full restitution to all victims for the losses those victims

     have suffered as a result of the defendant's conduct. The

     defendant also agrees that the Government will seek, and the

     Court may impose an order of restitution as to victims of the

     defendant's relevant conduct. With respect to the payment of

     restitution, the defendant further agrees that, as part of the

     sentence in this matter, the defendant shall be responsible for

     making payment of restitution in full, unless the defendant can
                                  16
Case 3:23-cr-00026-MEM Document 459 Filed 05/08/24 Page 17 of 32




     demonstrate to the satisfaction ofthe Court that the defendant's

     economic circumstances do not allow for the payment of full

     restitution in the foreseeable future, in which case the

     defendant will be required to make partial restitution

     payments. In addition to the schedule of payments that may be

     established by the Court, the defendant understands and agrees

     that, pursuant to the Mandatory Victims Restitution Act of

     1996 and the Justice For All Act of 2004, victims of federal

    crimes are entitled to full and timely restitution. As such, these

    payments do not preclude the Government from using other

     assets or income ofthe defendant to satisfiz the restitution

    obligation. The defendant understands and agrees that the

    United States Attorney's Office, by and through the Financial

    Litigation Unit, has the obligation and the right to pursue any

    legal means, including but not limited to, submission of the debt

    to the Treasury Offset Program, to collect the full amount of

    restitution owed to the victims in a timely fashion. Although

    the defendant may reserve the right to contest the amount of
                                 77
Case 3:23-cr-00026-MEM Document 459 Filed 05/08/24 Page 18 of 32




    restitution owed, the defendant agrees to take all steps to

    facilitate collection of all restitution, including submitting to

    debtor's exams as directed by the Government. Towards this

    goal, the defendant agrees to waive any further notice of

    forfeiture and agrees that the United States may, at its sole

    election, elect to pursue civil or criminal forfeiture in the

    amount of the victim restitution owed in this case, and the

    Court may enter both a restitution order and a forfeiture

    judgment in the amount of any unpaid restitution found by the

    Court to be due and owing at the time of sentencing in this

    matter. The defendant consents to the filing of any civil

    complaint or superseding information which may be necessary

    to perfect a forfeiture order and further stipulates and agrees

    that the defendant's guilty plea constitutes an admission to all

    matters legally and factually necessary for entry of a forfeiture

    order in this case. The parties agree that the Government will

    recommend, but cannot guarantee, that any assets recovered

    through forfeiture proceedings be remitted to crime victims to
                                 18
   Case 3:23-cr-00026-MEM Document 459 Filed 05/08/24 Page 19 of 32




       reduce the defendant's restitution obligation in this case. The

       defendant acknowledges that the making of any payments does

       not preclude the Government from using other assets or income

       ofthe ilefendant to satisfy the restitution obligation. The

       defendant understands that the amount of restitution

       caiculated for purposes of Chapter 5 ofthe Sentencing

       Guidelines might be different from the amount of loss calculated

       for purposes of Chapter 2 of the Sentencing Guidelines.

   18. FulI Restitution bv Schedule. The defendant agrees to make

       full restitution in accordance with a schedule to be determined

       by the Court.

E. Information Provided to Court and Probation Office
   19. Ba ckp..ro und Information for Probation Office. The defendant

       understands that the United States will provide to the United

       States Probation Office all information in its possession that the

       United States deems relevant regarding the defendant's

       background, character, cooperation, if any, and involvement in

       this or other offenses.
                                   19
Case 3:23-cr-00026-MEM Document 459 Filed 05/08/24 Page 20 of 32




20. Obiections to Pre- Sentence Rep ort. The defendant understands

    that pursuant to the United States District Court for the Middie

    District of Pennsylvania's "Policy for Guideline Sentencing,"

    both the United States and defendant must communicate to the

    Probation Officer within 14 days after disclosure ofthe pre-

    sentence report any objections they may have as to material

    information, sentencing classifications, applicable Sentencing

    Guidelines ranges, and policy statements contained in or

    omitted from the report. The defendant agrees to meet with the

    United States at least five days prior to sentencing in a good

    faith attempt to resolve any substantive differences. Ifany

    issues remain unresolved, they shall be communicated to the

    Probation OIIicer for inclusion in an addendum to the pre-

    sentence report. The defendant agrees that unresolved

    substantive objections will be decided by the Court after

    briefing, a pre-sentence hearing, or at the sentencing hearing,

    where the standard or proof will be a preponderance of the

    evidence, and the Federal Rules ofEvidence, other than with
                               20
Case 3:23-cr-00026-MEM Document 459 Filed 05/08/24 Page 21 of 32




    respect to privileges, shall not apply under Fed. R. Evid.

     1101(dXB), and the Court may consider any reliable evidence,

    including hearsay. Objections by the defendant to the pre'

    sentence report or the Court's rulings, will not be grounds for

    withdrawal of a plea of guilty.

 21. Relevant Sentencins Information. At sentencing, the United

    States will be permitted to bring to the Court's attention, and

    the Court will be permitted to consider, all relevant information

    about the defendant's background, character and conduct,

    including the conduct that is the subject ofthe charges that the

    United States has agreed to dismiss, and the nature and extent

    of the defendant's cooperation, if any. The United States will be

    entitled to bring to the Court's attention and the Court will be

    entitled to consider any failure by the defendant to fulfill any

    obligation under this Agreement.

 22. Non'Limitation on Government's Response. No thing in this

    Agreement shall restrict or limit the nature or content of the

    United States' motions or responses to any motions filed on
                                27
  Case 3:23-cr-00026-MEM Document 459 Filed 05/08/24 Page 22 of 32




        behalf of the defendant. Nor does this Agreement in any way

        restrict the Government in responding to any request by the

        Court for briefing, argument or presentation of evidence

        regarding the application of Sentencing Guidelines to the

        defendant's conduct, including but not Iimited to, requests for

        information concerning possible sentencing departures.

F. Court Not Bound by Plea A$eement
   qD
        Court Not Bo und bv Terms. The defendant understands that

        the Court is not a party to and is not bound by this Agreement,

        or by any recommendations made by the parties. Thus, the

        Court is free to impose upon the defendant any sentence up to

        and including the maximum sentence of life in prison, a

        maximum fine of $10,000,000, a maximum term of supervised

        release of life but at least 5 years, which shall be served at the

        conclusion of and in addition to any term of imprisonment, the

        costs of prosecution, denial of certain federal benefits, and

        assessments totaling $ 100.



                                      22
  Case 3:23-cr-00026-MEM Document 459 Filed 05/08/24 Page 23 of 32




   24. No Withdrawal of Plea B ased on Sentence or Recommendations.

       If the Court imposes a sentence with which the defendant is

       dissatisfied, the defendant will not be permitted to withdraw

       any guilty plea for that reason alone, nor will the defendant be

       permitted to withdraw any guilty plea should the Court decline

       to follow any recommendations by any of the parties to this

      Agreement.

G. Breach of Plea A€neement by Defendant
   25. Breach ofAereement. In the event the United States believes

      the defendant has failed to fulfill any obligation under this

      Agreement, then the United States shall, in its discretion, have

      the option ofpetitioning the Court to be relieved ofits

      obligations under this Agreement. Whether the defendant has

      completely fulfilled all of the obligations under this Agreement

      shall be determined by the Court in an appropriate proceeding,

      during which any disclosures and documents provided by the

      de{'endant shall be admissible, and during which the United

      States shall be required to establish any breach by a
Case 3:23-cr-00026-MEM Document 459 Filed 05/08/24 Page 24 of 32




    preponderance of the evidence. In order to establish anv breach

    by the defendant, the United States is entitled to rely on

    statements and evidence given by the defendant during the

    cooperation phase of this Agreement, if any.

 26. Remedies for Breach. The defendant and the United States

    agree that in the event the Court concludes that the defendant

    has breached the Agreement:

    a   The defendant will not be permitted to withdraw any guilty

        plea tendered under this Agreement and agrees not to

        petition for withdrawal of any guilty pleai

    b. The United States will be free to make any
        recommendations to the Court regarding sentencing in this

        CASC,


    c. Any evidence or statements made by the defendant during
        the cooperation phase of this Agreement, if any, will be

        admissible at any trials or sentencingsi

    d. The United States will be free to bring any other charges it
        has against the defendant, including any charges originally
                               24
Case 3:23-cr-00026-MEM Document 459 Filed 05/08/24 Page 25 of 32




        brought against the defendant or which may have been

        under investigation at the time of the plea. The defendant

        waives and hereby agrees not to raise any defense to the

        reinstatement of these charges based upon collateral

        estoppel, Double Jeopardy, statute of limitations, assertion

        ofSpeedy Trial rights, or other similar grounds.

27. Violation of Law While P Ie a or Sentence Pendin s . The

    defendant understands that it is a condition of this Agreement

    that the defendant refrain from any further violations ofstate,

    local, or federal law while awaiting plea and sentencing. The

    defendant acknowledges and agrees that if the Government

    receives information that the defendant has committed new

    crimes while awaiting plea or sentencing in this case, the

    Government may petition the Court and, if the Court finds by a

    preponderance of the evidence that the defendant has

    committed any other criminal offense while awaiting plea or

    sentencing, the Government shall be free at its sole election to

    either: (d withdraw from this Agreementi or (b) make any
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  Case 3:23-cr-00026-MEM Document 459 Filed 05/08/24 Page 26 of 32




       sentencing recommendations to the Court that it deems

       appropriate. The defendant further understands and agrees

       that, if the Court finds that the defendant has committed any

       other offense while awaiting plea or sentencing, the defendant

       will not be permitted to withdraw any guilty pleas tendered
       pursuant to this Agreement, and the government will be

       permitted to bring any additional charges that it may have

       against the ilefendant.

H. Deportation
   28. Deportation/Re moval from the United States. The defendant

       understands that, if defendant is not a United States citizen,

       deportation/removal from the United States is a consequence of

      this plea. The defendant further agrees that this matter has

      been discussed with counsel who has explained the immigration

      consequences of this plea. The defendant still desires to enter

      into this plea after having been so advised.




                                  26
   Case 3:23-cr-00026-MEM Document 459 Filed 05/08/24 Page 27 of 32




    29. Appeal Waiver - Direct. The defendant is aware that Title 28,

       United States Code, $ 1291 affords a defendant the right to

       appeal a judgment of conviction and sentencei and that Tit                18,

       United States Code, $ 37a2G) affords a defendant the               ht to

       appeal the sentence imposed. Acknowledging                   fthis, the
       defendant knowingly waives the right to a            al the conviction

       and sentence. This waiver includes              and all possible

       grounds for appeal, whether con            utional or non-

       constitutional, including, b         no t limited to, the manner in

       which that sentence w         determined in light of United States v.

       Booker,543 U.S.            (zOOS). The defendant further

       acknowle        S   that this appeal waiver is binding only upon the

       defen   I1   t and that the United States retains its right to appeal
                         A p.:c-t rrra.s o-7- d-- t.l:-f .-, .,-. ', *J
                           qr\\rz)-. AJ? $h
                                   l--
J. Other Provisione
   30. Aereement Not Bindins on Other Asencies. Nothing in this

       Agreement shall bind any other United States Attorney's Office,
                                       27
Case 3:23-cr-00026-MEM Document 459 Filed 05/08/24 Page 28 of 32




    state prosecutor's office, or federal, state, or local law

    enforcement agencv.

 31. No Civil Claims or Suits. The defenilant agrees not to pursue or

    initiate any civil claims or suits against the United States of

    America, its agencies or employees, whether or not presently

    known to the defendant, arising out of the investigation,

    prosecution or cooperation, if any, covered by this Agreement,

    including but not limited to any claims for attorney's fees and

    other litigation expenses arising out ofthe investigation and

    prosecution of this matter. By the defendant's guilty plea in

    this matter the defendant further acknowledges that the

    Government's position in this litigation was taken in good faith,

    had a substantial basis in law and fact and was not vexatious.

32. Plea Asr eement Serves Ends of Justice. The United States is

    entering this Agreement with the defendant because this

    disposition of the matter fairly and adequately addresses the

    gravity ofthe offense(s) f.om which the charge(s) is/are drawn,


                                 28
Case 3:23-cr-00026-MEM Document 459 Filed 05/08/24 Page 29 of 32




    as well as the defendant's role in such offense(s), thereby

    serving the ends ofjustice.

 33. Mereer of All Prior Negotiations. This document states the

    complete and only Agreement between the United States

    Attorney for the Middle District of Pennsylvania and the

    defendant in this case, and is binding only on the parties to this

    Agreement and supersedes all prior understandings or plea

    offers, whether written or oral. 'fhis agreement cannot be

    modified other than in writing that is signed by all parties or on

    the record in court. No other promises or inducements have

    been or will be made to the defendant in connection with this

    case, nor have any predictions or threats been made in

    connection with this plea. Pursuant to RuIe 11 ofthe Federal

    Rules of Criminal Procedure, the defendant certifies that the

    defendant's plea is knowing and voluntary and is not the result

    of force or threats or promises apart from those promises set

    forth in this Agreement.


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Case 3:23-cr-00026-MEM Document 459 Filed 05/08/24 Page 30 of 32




 34. Defendant is Satisfied with Assistance of Counsel.'I'he

    Defendant agrees that the defendant has discussed this case

    and this Agreement in detail with the defendant's attorney, who

    has advised the defendant ofthe defendant's Constitutional and

    other triai and appellate rights, the nature of the charges, the

    elements of the offenses the United States would have to prove

    at trial, the evidence the United States would present at such

    trial, possible defenses, the advisory Sentencing Guidelines and

    other aspects of sentencing, potential losses of civil rights and

    privileges, and other potential consequences ofpleading guilty

    in this case. The defendant agrees that the defendant is

    satisfied with the legal services and advice provided to the

    defendant by the defendant's attorney.

35. Deadline for Acceptance of Plea Asreement. The original of this

    Agreement must be signed by the defendant and defense

    counsel and received by the United States Attorney's Office on

    or before 5:00 p.m., May 8, 2024, otherwise the offer may, in the

    sole discretion of the Government, be deemed withdrawn.

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   Case 3:23-cr-00026-MEM Document 459 Filed 05/08/24 Page 31 of 32




    36. Required Sisnatures. None of the terms of this Agreement shall

         be binding on the Office of the United States Attorney for the

         Middle District of Pennsylvania until signed by the defendant

         and defense counsel and then signed by the United States

         Attorney or his designee.

                         ACKNOWLEDGMET\fIS

     I have read this agreement and carefully reviewed every part of it
with my attorney. I fully understand it and I voluntarily agree to it.



w                                    HOWARD BELL
                                     Defendant



       I am the defendant's counsel. I have carefully reviewed eve ry part
of this agreement with the defendant. To my                    client's
decision to enter into this agreemen t an           ed and   luntary one.

tq':t L,g,oxY
Date                                                   MO , ESQUIRE
                                     Counsel for   efendant
    Case 3:23-cr-00026-MEM Document 459 Filed 05/08/24 Page 32 of 32




                                      GERARD M. KARAM
                                      United States Attorney

5 l* s-o >\                     By:
Date                                  ROBDRT J. O
                                      Assistant United States Attorney


AUSA/RJO/2023R089 May 2, 2024
\DRSION DATE: Maxrh 8, 2021
